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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION



 IN RE: AQUEOUS FILM-FORMING                         MDL No.: 2:18-mn-02873-RMG
 FOAMS PRODUCT LIABILITY
 LITIGATION
                                                     This Document Relates to the Following
                                                     Action:

                                                     Case No.: 2:22-cv-02593-RMG

                                                     Insurance Auto Auctions, Inc.,
                                                     v. Carteret Fire Department, et al.




      GENERAL DENIAL AND PRELIMINARY STATEMENT OF AFFIRMATIVE
     DEFENSES BY DEFENDANTS, ISELIN FIRE DEPARTMENT # 9, ISELIN FIRE
           DEPARTMENT # 11, AND HOPELAWN FIRE DEPARTMENT

         Defendants Iselin Fire Department # 9 (“Iselin # 9”), Iselin Fire Department # 11 (“Iselin

# 11”), and Hopelawn Fire Department (“Hopelawn”), by undersigned counsel, hereby respond

to the Complaint filed by the Plaintiff herein, Insurance Auto Auctions, Inc. (“Plaintiff”):


                                       GENERAL DENIAL

         Pursuant to Federal Rule of Civil Procedure 8(b)(3), Defendants deny generally and

specifically each and every allegation set forth in Plaintiff’s Complaint, and the whole thereof,

and each and every alleged cause of action therein, and Defendants demand strict proof of same

by a preponderance of the evidence and/or by clear and convincing evidence as required by law.

Defendants further deny that Plaintiff has sufficiently alleged grounds upon which any relief

could be granted. Defendants further deny that Plaintiff has sustained damages in any sums

alleged, or any sums at all, or are entitled to relief of any type, by reason of any act, breach, or



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omission on the part of Defendants or anyone acting on their behalf. Defendants reserve their

rights to assert counter-claims, cross-claims, and/or third-party claims.


                                   AFFIRMATIVE DEFENSES

         Defendants assert the following affirmative defenses in response to the averments in the

Plaintiff’s Complaint filed in the above-captioned action:

         1.     The Complaint, and each cause of action or count alleged therein, fails to state

facts sufficient to constitute a claim upon which relief may be granted against any one or more of

Defendants.

         2.     Plaintiff’s claims are barred or limited for lack of standing.

         3.     The Complaint fails to plead facts supporting necessary elements of a claim under

New Jersey’s Tort Claims Act, N.J.S.A. § 59:1-1, et seq.

         4.     The Complaint fails to plead facts supporting necessary elements of a claim under

New Jersey’s Spill Compensation and Control Act, N.J.S.A. § 58:10-23.11, et seq.

         5.     The Complaint, and each cause of action or count alleged therein, fails to join

necessary parties.

         6.     The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, because Defendant are entitled to immunity from suit under the government contractor

defense. See Boyle v. United Technologies Corp., 487 U.S. 500 (1988).

         7.     Plaintiff’s claims are barred by the New Jersey Tort Claims Act, N.J.S.A. § 59:1-

1, et seq., for failure to comply with the Act’s notice requirements, N.J.S.A. § 59: 8-1, et seq.

         8.     Plaintiff’s claims are barred by the New Jersey Tort Claims Act, N.J.S.A. § 59:1-

1, et seq., as Plaintiff’s actions under the circumstances do not merit relief from Act’s notice

requirements as provided by N.J.S.A. § 59: 8-9.



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         9.     The facts of Plaintiff’s alleged injury do not meet the threshold requirements for

Plaintiff to be entitled to relief under the New Jersey Spill Compensation and Control Act,

N.J.S.A. § 58:10-23.11, et seq.

         10.    The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, by the doctrine of laches.

         11.    The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, because Plaintiff is not the real party in interest and/or or lacks capacity to bring its claims.

         12.    Plaintiff’s claims are not ripe and/or have been mooted.

         13.    Plaintiff’s claims are or may be barred, in whole or in part, to the extent it has

failed to exhaust administrative remedies.

         14.    Plaintiff is barred by the doctrine of unclean hands from all forms of relief sought

in the Complaint.

         15.    Plaintiff is barred by the doctrines of estoppel and/or waiver from all forms of

relief sought in the Complaint.

         16.    Plaintiff may be barred by the doctrines of res judicata and collateral estoppel

from all forms of relief sought in the Complaint.

         17.    Plaintiff’s claims are barred in whole or in part under the bulk supplier,

component part supplier, sophisticated-purchaser, sophisticated-user, sophisticated intermediary,

and/or knowledgeable-user doctrines or other similar or related doctrines available under

applicable law.

         18.    Any injuries and/or damages sustained by Plaintiff were caused or contributed to

by the negligence or actual conduct of Plaintiff and/or other persons, firms, corporations, or




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entities over whom Defendants had no control or right of control and for whom Defendants are

not responsible.

         19.      Any injuries and/or damages sustained by Plaintiff are barred by the doctrines of

intervening cause and/or superseding cause.

         20.      Plaintiff’s claims are or may be barred for lack of proximate causation between

any alleged act or omission of Defendant and the claims, damages, and harm alleged in the

Plaintiff’s Complaint.

         21.      Plaintiff’s claims are or may be barred, in whole or in part, by the doctrine of

election of remedies.

         22.      Plaintiff’s claims are subject to all defenses that could be asserted if Plaintiff’s

claims were properly made by individuals on whose behalf or for whose alleged damages

Plaintiff seeks to recover.

         23.      Plaintiff’s claims are barred, in whole or in part, under applicable common law or

statutory doctrines, including but not limited to avoidable consequences, voluntary exposure,

assumption of risk, and open and obvious risk.

         24.      Plaintiff’s claims are or may be barred, in whole or in part, because any alleged

levels of contamination did not exceed any applicable laws or binding regulatory standards at the

relevant times.

         25.      Plaintiff’s claims are barred, in whole or in part, because federal, state, and/or

local authorities authorized, ratified, or were aware of and acquiesced in actions by Defendants

that are the subject of Plaintiff’s claims. Defendants are not responsible or liable for any acts or

omissions undertaken by or at the direction of any governmental authority or agency.




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         26.    Plaintiff’s claims are or may be barred, in whole or in part, by the doctrine of

primary jurisdiction.

         27.    Plaintiff’s claims are or may be barred, in whole or in part, under the doctrine of

Federal Preemption, including without limitation express preemption, implied conflict

preemption and field preemption, pursuant to any applicable statutes, regulations, guidance

documents, notices, military specification, and policy statements, enacted and/or promulgated

and/or issued by Congress, federal agencies, or the executive branch, including, without

limitation, to the extent Plaintiff’s claims constitute an impermissible challenge to a response or

remediation action under CERCLA, 42 U.S.C. § 9613(h).

         28.    Plaintiff’s damages, if any, were caused by the active, direct, and proximate

negligence or actual conduct of entities or persons other than Defendants, and in the event that

Defendants are found to be liable to Plaintiff, Defendants will be entitled to indemnification,

contribution, and/or apportionment.

         29.    Defendants assert their right to allocation or apportionment of fault pursuant to

applicable state law, as well as its right to a proportionate reduction of any damages found

against Defendants based on the negligence or other conduct of any settling tortfeasor and/or

responsible third party and/or Plaintiff.

         30.    Plaintiff’s claims against Defendants are barred or limited by the economic loss

rule.

         31.    Plaintiff has failed or refused to exercise reasonable care and diligence to avoid

loss and minimize damages and, therefore, may not recover for losses that could have been

prevented by reasonable efforts on its part, or by expenditures which might reasonably have been

made. Recovery, if any, should therefore be reduced by Plaintiff’s failure to mitigate damages.




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         32.    Plaintiff’s Complaint is barred, in whole or in part, by the doctrines of

acquiescence, accord and satisfaction, ratification, settlement, or release.

         33.    Defendants assert all applicable defenses under Federal Rules of Civil Procedure

8(c) and 12(b), as investigation and discovery proceeds.

         34.    Defendants adopt by reference any additional applicable defense pleaded by any

other Defendants not otherwise pleaded herein.

         35.    Defendants adopt by reference any additional applicable defense asserted by

Defendants prior to transfer in any case transferred to this MDL.

         Defendants do not admit or acknowledge that they bear the burden of proof and/or

burden of persuasion with respect to any of the above defenses. All of the preceding defenses

are pled in the alternative and none constitutes an admission that Defendants are liable to

Plaintiff, that Plaintiff has been or will be injured or damaged in any way, or that Plaintiff is

entitled to any relief whatsoever. Defendants reserve their right to (i) rely on any and all

defenses and presumptions set forth in or arising from any rule of law or statute of any state

whose substantive law might control the relevant action, (ii) rely upon any other defenses set

forth in any Answer or disclosure of affirmative defenses of any Defendant in the above-

captioned action (including, without limitation, any case transferred to the above-captioned

action), (iii) rely upon any other defenses that may become apparent during fact or expert

discovery in this matter, and (iv) to amend this document to assert any such defenses.

Dated: September 7, 2022                               HILL WALLACK LLP
                                                       /s/ __Victoria Airgood___
                                                            Victoria J. Airgood
                                                       21 Roszel Road
                                                       P.O. Box 5226
                                                       Princeton, New Jersey 08543-5226
                                                       Phone: 609-924-0808; Fax: 609-452-1888
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 7, 2022, a true and correct copy of the General Denial

and Preliminary Statement of Affirmative Defenses by Defendants, Iselin Fire Department # 9,

Iselin Fire Department # 11, and Hopelawn Fire Department, was served on all counsel of record

in the referenced case, Insurance Auto Auctions, Inc. v. Carteret Fire Department, et al., by

electronically filing the foregoing document with the Clerk of Court through the CM/ECF

system and on Defendant, State of New Jersey, through its designated e-mail address for service.


Dated: September 7, 2022                              _s/Victoria Airgood__
                                                       Victoria J. Airgood




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